   Case 3:13-cv-01423-JAM Document        362-2 Filed 08/21/18 Page 1 of 15
                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




                        EXHIBIT 1




                                                                                         1
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                                    OBJECTION:
   The following documents would have reasonably shown the jury the defendant’s liability
                          and causation for plainitiffs injuries.

                                              Summary Of Plaintiffs

Document Omission Objections Plaintiffs’ Objections And Offers Of Proof of the Omissions Of
Plaintiffs’ Vitally Relevent Exhibits From Jury Consideration In Chronological Order.

Instructions: Each illustration is notated on the exhibit itself. You can also enlarge the illustrations.

Objection: These objections present the Court with the following issue : At trial, Chase said that plaintiff never

once told them to stop calling. Here, nearly all of the documents below show that plaintiff told Chase to stop calling

him repeatedly. Was Chase even slightly liable to the plaintiff? Did plaintiff experience any emotional distress due to

any of Chases servicing activities? Did Chase Cause any of plaintiffs emotional distress?




                                                                                                                         2
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                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




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                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




                                                                                         4
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                                     OBJECTION:
    The following documents would have reasonably shown the jury the defendant’s liability
                           and causation for plainitiffs injuries.

Objection: This objection presents the Court with the following issue: Plaintiffs Factual Proof. Under Federal

law, the factual dispute must be genuine, “that is, if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “The mere existence of a

scintilla of evidence in support of the plaintiff’s position will be insufficient; there must be evidence on which the jury

reasonably could find for the plaintiff.” Id. at 252. Here, the jury never saw the plaintiffs’ proof. Would the

documents below have shown the jury that plaintiff told Chase to stop calling him, and then kept calling, while at trial,

Chase said that plaintiff never once told them to stop calling, when all of the documents show that plaintiff told Chase

to stop calling him repeatedly? Was Chase liable the plaintiff? Did plaintiff experience emotional distress? Did

Chase Cause plaintiffs emotional distress?


This is why plaintiffs’ omitted discovery of his Chases account records was so important, and why Chase so eagerly

handed over 116 pages of damaging proof of wrongdoing, of which the jury did not see the important illustrations, only

meaningless portions as a distraction from fear of liability, or in the alternative, ask Chase why they never gave the

plaintiff a loan he could afford when Chase and Deutsche Bank and SPS, Inc. knew that both loans were prohibited

under CT Pa 1-34(5),(8) and (9). 1 Did the jury hand down an improvidential ruling due to a massive lack of

evidence that would have proven his claims but was prohibited from seeing Any of plaintiffs proof?



1
  https://www.cga.ct.gov/2002/rpt/2002-R-0855.htm Public Act No. 01-34 - An Act Concerning
Abusive Home Loan Lending Practices. https://www.cga.ct.gov/2001/act/Pa/2001PA-00034-
R00HB-06131-PA.htm
Sec. 5. (NEW 2001) A high cost home loan shall not provide for or include the following: (2) A
payment schedule with regular periodic payments that cause the principal balance to increase;
Sec. 7. (NEW 2001) In the making of a high cost home loan no lender shall: (2) Sell or otherwise
assign such loan without furnishing the following statement to the purchaser or assignee: "Notice:
This is a loan subject to special rules under the Connecticut Abusive Home Loan Lending Practices
Act. Purchasers or assignees of this loan could be liable for all claims and defenses with respect to
the loan that the borrower could assert against the lender"; LIABILITY? Sec. 7. (5) Make such loan
unless the lender reasonably believes at the time the loan is consummated that the borrower will be
able to make the scheduled payments to repay the loan based upon a consideration of the borrower's
                                                                                                                              5
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                                   OBJECTION:
  The following documents would have reasonably shown the jury the defendant’s liability
                         and causation for plainitiffs injuries.




current and expected income, current obligations, employment status, and other financial resources,
excluding the borrower's equity in the dwelling that secures repayment of the loan. The borrower
shall be presumed to be able to make the scheduled payments to repay the loan if at the time the
loan is consummated, or at the time of the first rate adjustment in the case of a lower introductory
interest rate, the borrower's monthly debts, including amounts owed under the mortgage, do not
exceed fifty per cent of the borrower's monthly gross income, as verified by borrower's signed
financial statement, credit report, payment records for employment income; Sec. 7. (8) Make such
loan to a borrower that refinances an existing loan unless the high cost home loan provides a benefit
to the borrower considering all of the circumstances, including the terms of both the new and
refinanced loans, the cost of the new loan, and the borrower's circumstances; Sec. 7. (9) Make such
loan with an interest rate that is unconscionable. A lender shall base the interest rate for a high cost
home loan on proper and reasonable factors including, but not limited to, creditworthiness, other
risk related standards and sound underwriting. For purposes of this subdivision, an interest rate that
is not based on such factors, or that significantly deviates from industry standards for making that
type of high cost home loan, shall be deemed unconscionable; and

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                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




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                                    OBJECTION:
   The following documents would have reasonably shown the jury the defendant’s liability
                          and causation for plainitiffs injuries.

1. Objection: This objection presents the Court with the following issue: At the risk of seeming to be forthright,

    the plaintiff would like to ask if the documents below would have shown the jury that plaintiff told Chase to stop

    calling him. I’m sorry to say it, but Chase confirmed it with a confirmation letter, then kept calling, but then,

    while at trial, Chase said that I never once told them to stop. It would seem that User FXG below might

    disagree as it appears that he put into writing, his interpretation, of what I said, in Chases call logs by physically

    pressing on the keys of his computer key board the words: “BWR DOESN’T WANT CALLS TO

    CONTINUE…TOLD HIM TO SEND A WRITTEN CEASE AND DESIST…BWR

    HUNG UP AFTER THAT.” Plaintiff would have asked the jury ;”What Does That Mean”?


    Plaintiff finally left Chase by Hanging up on the caller because he was livid and frustrated by Chase not

    addressing his prohibited loans. Chase never send a reason why they did not address the probited loans. Chase

    never told plaintiff why they did not address Deutsche Banks modifying his loan requiring him to make monthly

    payments of over $10,000 when plaintiff could only afford $500 a month, AND THEN, after five years of

    calling him, why Chase and giving him tryouts he could not even come close paying. After telling Chase to not call

    him again plaintiff hung up. But Chase did not notate that in their call logs, just that plaintiff hung up.


    Were Chase callers directed by supervisors to edit their call log notations to exclude discussions of harassment and

    abuse by Chase? After that, Chase made the decision to keep calling me. I told Chase to stop calling me many

    times after that but Chase rarly, if every, wrote down anything bad about their company. Were the call logs

    biased in favor of Chase and precuditial to the plaintiff? Then, after having been sued for $70 million for making

    excessive calls, in Conner, It seems that Chase was a little more receptive to plaintiffs request two years later me

    for three more years. Was Chase liable the plaintiff? Did plaintiff experience emotional distress? Did Chase

    Cause plaintiffs emotional distress?




                                                                                                                             8
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                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




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                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




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                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




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                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




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                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




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      Case 3:13-cv-01423-JAM Document       362-2 Filed 08/21/18 Page 14 of 15
                                    OBJECTION:
   The following documents would have reasonably shown the jury the defendant’s liability
                          and causation for plainitiffs injuries.




Objection: Was Chase even slightly liable the plaintiff? Did plaintiff experience emotional distress? Did Chase

Cause even some of plaintiffs emotional distress? Would the jury have made a more reasonable decision had they been

able to see this objected to exhibits herein that were left out?




                                                                                                                  14
   Case 3:13-cv-01423-JAM Document       362-2 Filed 08/21/18 Page 15 of 15
                                 OBJECTION:
The following documents would have reasonably shown the jury the defendant’s liability
                       and causation for plainitiffs injuries.




                                                                                     15
